                Case 1:21-cr-00327-RC Document 10-1 Filed 03/11/21 Page 1 of 11


POLITICS



He Rioted at the Capitol. Then for Weeks He
Lived in Luxury While Hiding From the FBI.
Luke Coﬀee, a director and actor who appeared on NBC’s ‘Friday Night Lights,’ found
QAnon during the pandemic and then spent a month trying to evade the
consequences of the path it led him down.



BY         PETER HOLLEY


DATE       FEB 26, 2021


SHARE


NOTES      19 COMMENTS
             Case 1:21-cr-00327-RC Document 10-1 Filed 03/11/21 Page 2 of 11
Luke Coﬀee, a 41-year-old Dallasite, raises a crutch above his head as he faces oﬀ with a line of police
oﬃcers at an entrance to the U.S. Capitol building on January 6, 2021.
Lev Radin/Pacific Press/LightRocket via Getty




O
         n a warm day in late January, Luke Coﬀee invited me to join him on the patio of an
         Italian eatery at a fancy Hill Country resort and take in the view. The sprawling
         landscape, with orchards, vineyards, and horse stables, oﬀered guests a rustic
         Central Texas take on the Tuscan countryside. But Coﬀee, a director and actor
who appeared on NBC’s Friday Night Lights, could never fully relax. Though he was living
an Instagrammable vacation dream, he was in fact a man in hiding from the law, someone
resisting reality until that was no longer possible.

Just three weeks before, Coﬀee had been more than 1,500 miles away—in Washington, D.C.
On January 6, he participated in the riots at the U.S. Capitol, overnight becoming one of the
most recognizable faces in the throngs of Donald Trump supporters there. An image of
Coﬀee at the entrance to the Capitol—right arm extended as if about to give a high ﬁve—had
been plastered on FBI posters seeking identifying information about the rioters. His
cowboy hat and camo jacket had made him easily identiﬁable among the crowd, and on
Twitter, a group of amateur investigators calling themselves Sedition Hunters had
promised to ruin the career of the man they called the #HighFiveCowboy.

After the riot, Coﬀee went home to Dallas. In short order, his image began circulating on
Twitter, the FBI asked him for a meeting, his father publicly urged him on Instagram to
turn himself in, and his college roommate, who had remained one of his best friends, called
Coﬀee a domestic terrorist on social media. The 41-year-old Dallasite decided to go
somewhere peaceful to “clear his head.”

During our interview, Coﬀee sidestepped questions about how he chose the place he’d been
hiding, but the resort’s owner, who’d posted on social media that the rioters weren’t
insurrectionists but merely victims of a media smear campaign, was sympathetic to his
case, he said, and had oﬀered to shelter him at a discount for as long as he wanted. “It’s
ridiculous,” the owner told me during dinner service at the Italian restaurant, referring to
the possibility that Coﬀee might face jail time for his role at the riot. “The whole thing is
just ridiculous.”

Coﬀee told me he wasn’t on the run from the FBI, but during his six-plus weeks at the
resort, which is not being identiﬁed as a condition of our meeting there, he kept hearing
from the bureau. He says one agent from the Dallas ﬁeld oﬃce urged him to return to that
            Case 1:21-cr-00327-RC Document 10-1 Filed 03/11/21 Page 3 of 11
city to meet “face to face.” “You need to understand,” the man wrote in a text shared with
Texas Monthly, “that this situation is not getting better.” Coﬀee responded with deﬁance
and hoped to stay at the resort indeﬁnitely. Weeks later, however, the gravity of his
situation would ﬁnally set in, and Coﬀee would turn himself in to authorities and face a
litany of charges.

There was little doubt about why the FBI was eager to sit down with Coﬀee. Footage
recorded by journalists and attendees of the rally captures him near the top of the stairs
leading to the building’s entrance, fewer than twenty seconds after rioters dragged D.C.
police oﬃcer Michael Fanone out of a police line and into their midst and repeatedly
assaulted him. In one clip, Coﬀee passes within several feet of a rioter beating the oﬃcer
with an American ﬂag and another who appears to pick Fanone’s black helmet oﬀ the
ground and place it atop his own head.

Coﬀee told me that he never saw oﬃcer Fanone in distress, and that he went to the head of
the crowd to try to de-escalate the situation. On video, Coﬀee can be seen lingering in the
battle zone and at one point appears to yell at rioters to “stop.” But moments after, he picks
up a crutch another protester had been wielding and holds it above his head, before
lowering his shoulders and ramming into multiple oﬃcers.

Video footage analyzed by the New York Times also shows that, seconds before Coﬀee
charges the oﬃcers, rioter Rosanne Boyland lies collapsed on the ground near his feet. The
paper concluded that a protester holding a crutch—a man Texas Monthly can identify as
Coﬀee—made it “virtually impossible for oﬃcers to give her aid, if they were able to notice
her at all.” Coﬀee later told me he noticed a woman resembling Boyland who was trapped
beneath the crowd at one point, but insisted he was unable to calm those around him
enough to rescue her. By the time he pushed into police, he said, neither he nor the oﬃcers
were aware of Boyland’s exact location. “If I had known she was nearby I would’ve grabbed
them and said, ‘Let’s help this woman,’” he said. “But it was just confusion and chaos.”

Friends and family wonder how Coﬀee ended up in the middle of the violent scrum at the
Capitol. Relatives have scolded him via text for trading his career, his family’s happiness,
and potentially his freedom for the sake of his extreme political beliefs. Though Coﬀee’s
circumstances are somewhat unique from other rioters—he spent his youth in a prosperous
Dallas enclave and achieved modest celebrity as a TV actor—his story provides insight into
how a Texan who had no previous interest in extremist politics could be pulled into the hall
of mirrors of QAnon conspiracy theories and election deniers. It shows the key role that
            Case 1:21-cr-00327-RC Document 10-1 Filed 03/11/21 Page 4 of 11
scholars who study extremist movements say is often played by personal misfortune: in
Coﬀee’s case, a tragic hit-and-run accident, and the gutting of his business by the pandemic.

When we talked at the resort, Coﬀee obsessively rationalized and excused his actions on
January 6, when he said he found himself “in the middle of a storm.” “I didn’t do anything
wrong,” Coﬀee told me during a rambling six-hour interview. He insisted he wasn’t so much
in hiding at the resort—“if the FBI wants me I’m sure they can easily ﬁnd me,” he said—as
on an extended vacation. But like all vacations, it eventually had to come to an end. On
February 25, Coﬀee turned himself into authorities at the Earle Cabell federal courthouse
in Dallas. A day later he was charged on numerous counts, including assaulting a federal law
enforcement oﬃcer with a dangerous weapon, interfering with a law enforcement oﬃcer
during a civil disorder, obstructing an oﬃcial proceeding, unlawfully entering onto
restricted grounds, and engaging in disorderly conduct in the Capitol. For the ﬁrst time
after months of retreating into an online echo chamber, Coﬀee was forced to contend with
the consequences of his extreme beliefs and actions.
               Case 1:21-cr-00327-RC Document 10-1 Filed 03/11/21 Page 5 of 11




Luke Coﬀee.
Peter Holley



The Justice Department has charged more than three hundred “Stop the Steal” rally
attendees for their participation in the riot, according to Reuters. At least twenty of the
charged rioters are Texans, a signiﬁcant chunk of whom arrived from the Dallas–Fort
Worth area. They include Paul Davis and Jenna Ryan, a lawyer and a real estate broker,
respectively, from Frisco, and Larry Rendell Brock Jr., a retired Air Force oﬃcer from
Grapevine. Like so many of his fellow rioters, Coﬀee is middle-aged and upper middle-
            Case 1:21-cr-00327-RC Document 10-1 Filed 03/11/21 Page 6 of 11
class, a business owner lacking prior ties to far-right extremist movements but with a
radical, grievance-ﬁlled outlook on the world around him.

RELATED: Who Were the Texans Who Traveled to the Capitol to Challenge the Election
Results?


Coﬀee spent most of his youth in Highland Park, one of the most aﬄuent enclaves in Texas,
located just north of downtown Dallas. His father worked in real estate and later as a full-
time prison minister and missionary in Cuba. His mother taught preschool before
becoming a stay-at-home parent. The family was one generation removed from something
approaching Texas royalty. One of Luke’s grandfathers, Russell Coﬀee, served as an
assistant University of Texas football coach to Darrell Royal from 1959 to 1967. Luke’s
grandmother, Wynelle Watson Coﬀee, was married to longtime politician John C. White,
who served as Texas agriculture commissioner, and later as U.S. deputy secretary of
agriculture and chairman of the Democratic National Committee. Asked to provide insight
into Coﬀee and his decision to riot at the Capitol, multiple family members and friends
defended Coﬀee privately but declined to comment on him publicly.

Growing up, Coﬀee played football and eventually walked onto the Baylor football team as a
defensive back his sophomore year of college, but he found himself drawn to ﬁlmmaking.
After graduating, Coﬀee landed a job in postproduction on the Warner Bros. lot in
Hollywood, and made a prime-time television appearance on an NBC drama. He began
dating a fellow Dallasite and, after a few years, planned on marrying her. But early one
Sunday morning in November 2006, while crossing the street as they left a Hollywood bar,
the two were hit by a driver who ﬂed the scene. Coﬀee’s girlfriend was killed instantly.
Recovering in the hospital from eleven broken ribs, two collapsed lungs, a broken leg, and a
torn ACL, he wasn’t able to attend her funeral.

Family members say Coﬀee became distant after the accident and that it made him more
withdrawn, unleashing a years-long struggle with symptoms resembling post-traumatic
stress disorder that Coﬀee has acknowledged battling. “Luke wasn’t the same Luke after
the wreck,” a close relative, speaking on the condition of anonymity, recalled. “He became
withdrawn and depressed and was never entirely himself again.” Wracked by survivor’s
guilt, Coﬀee said, he planned to visit his girlfriend’s grave before hanging himself at his
family’s ranch in Central Texas. He didn’t follow through and today is making a movie
about the traumatic experience, Texas Angel. Though it’s framed as an uplifting tale about
the world testing one man’s faith, the experience hardened Coﬀee’s outlook. “We live in a
             Case 1:21-cr-00327-RC Document 10-1 Filed 03/11/21 Page 7 of 11
world that is not a fair world and it’s a rigged system,” he said. “We’re living in a broken,
fallen place, and there are people that get away with evil.”

After the accident, Coﬀee returned to Texas to work as an actor—appearing as a right-wing
extremist on NBC’s Chase and later as a heavily accented, over-the-top Texan in a series of
commercials for Amarillo National Bank. He also launched a studio, Coﬀee Productions,
which he said has done commercial work for Doritos, Gold’s Gym, and the YMCA. Coﬀee
said his business was thriving until last March, when the pandemic struck and commercial
work dried up almost overnight.

Though conservative, Coﬀee had never been a die-hard supporter of Donald Trump, whose
bullying demeanor he found oﬀ-putting. But that changed as his livelihood felt more and
more threatened. He began to believe that shutdowns—which Trump opposed—were
oppressive. He grew particularly distrustful of Dr. Anthony Fauci after the immunologist
walked back his statements from late February advising against mask-wearing, and he
became disgusted watching leaders, such as California governor Gavin Newsom, violate the
orders meant to prevent the spread of COVID that they put in place. But Coﬀee’s views on
the virus seem to shift according to convenience. Though he regularly posts anti-mask
memes on Instagram and suggests that fears of the virus are greatly exaggerated, he texted
an FBI agent that he would not even consider meeting up until the agent had been “covid
cleared.”

Several months into the lockdown, Coﬀee found himself isolated, unable to work, and with
lots of time to conduct deep dives on the dark web. He encountered QAnon, or as he puts it,
“They found me.” Relatives, who have limited contact with Coﬀee these days, say he quickly
became “brainwashed” and began to refuse to engage with those who contradicted his new
worldview.

In September Coﬀee began actively posting about QAnon conspiracies and releasing
Instagram videos alleging the world was controlled by an all-powerful cabal of politicians,
billionaires, propagandists, and Satanists‚ and that God had anointed Donald Trump to root
out evil in the body politic. He often posted that there was a vast, child-traﬃcking ring run
by pedophilic global elites. It’s a belief that he traces all the way back to his own experience
working in the Los Angeles entertainment industry years earlier, where he told me he was
subjected to sexual harassment regularly, met many young actors who claimed to be preyed
upon, and witnessed grooming of potential victims by sexual predators. “One thing I
discovered early on was that elites play by diﬀerent rules in Hollywood,” Coﬀee said. “It
was eye-opening.” Coﬀee also grew to believe another conspiracy—that the election had
            Case 1:21-cr-00327-RC Document 10-1 Filed 03/11/21 Page 8 of 11
been stolen from Donald Trump—despite the lack of any evidence of fraud and the fact that
courts repeatedly dismissed lawsuits challenging the validity of Joe Biden’s win.




Coﬀee told me he went to D.C. in early January to “be part of history,” to ﬁght human
traﬃcking, and to “bring all of this criminal behavior to light.” But as he drove from Dallas
to Washington with a friend, he told his followers—who number more than 3,300 on
Instagram—that he was “not a serious person.” When we met, he told me the Stop the Steal
rally didn’t feel entirely serious either. Early on, Coﬀee said the gathering had a celebratory,
festival-like atmosphere. He spent his time several hundred yards from the Capitol,
bouncing from person to person, ﬁlming, taking photos for Facebook, and connecting with
others.

He says he only stormed the building when he overheard an older man asking for
reinforcements to “hold the line” near the front of the crowd, where rioters were
attempting to overwhelm police on a second-level promenade by collectively pushing
against them like a human battering ram. In Coﬀee’s telling, he innocently moved toward
the front of the crowd, where some rioters were choking on tear gas and being trampled, to
help “patriots” being victimized by police. Coﬀee told me he tried to de-escalate the
situation by reciting Abraham Lincoln’s words: “A house divided against itself cannot
stand!”

“There were people that were getting smothered,” he recalled thinking at the time. “The
cops were moving forward and throwing tear gas and we needed to hold them back so we
could get people out of there.” He added, “I kept saying, ‘Stop, we’re all Americans,’ and the
cops kept beating me with their batons. I had a ﬁght-or-ﬂight response.”

In the days immediately after the riot, Coﬀee struck a proud tone about the crowd, posting
videos on his Facebook account boasting about his experience at the Capitol. (Soon after,
he was banned from the platform.) While in hiding, he also made multiple appearances on a
YouTube talk show, Conspiracy Castle, and continued to post on Instagram—where his
account remains active—about the incoming “QStorm” and his frustration with “cancel
culture.”

In recent weeks, Coﬀee began to worry about his future, even though he called his actions
at the Capitol “self-defense.” He hired a lawyer, and while he wished to stay longer at the
resort, he grew to believe he would soon be arrested and charged. Reached by phone the
night before he was planning to turn himself into authorities, Coﬀee said he’d been back in
               Case 1:21-cr-00327-RC Document 10-1 Filed 03/11/21 Page 9 of 11
Dallas for about a week. He tried to sound conﬁdent but seemed noticeably shaken. Prison
didn’t seem to be his primary concern. He’d accompanied his father as he ministered to
inmates on at least four occasions and had some sense of what a future behind bars held; he
even told me he’d accept a sentence, if it comes, as God’s will. Instead, Coﬀee worried, voice
quivering, that he had “brought shame” to his family. “I have liberal friends who think that
I’ve lost it and that I’m a right-wing extremist, which is not the case.”

It echoed a sentiment he’d shared in a rare moment of remorse when we met in person in
late January and chatted behind his quaint, one-bedroom cottage. “I just don’t want to be
forever known as the Capitol riot guy.”




 19 COMMENTS




READ MORE



Ted Cruz’s Attempt to Court                    Ted Cruz Is Courting Trump’s           Who Were th
Trump’s Base Meets a Predictable               Base. Alexandria Ocasio-Cortez         Traveled to t
Obstacle: Trump                                Says He’s Doomed to Fail.              Challenge th
BY JONATHAN TILOVE                             BY JONATHAN TILOVE                     BY SIERRA JUA




POPULAR



01   How to Care for Plants Damaged by the Texas Freeze—and Prep for Spring
     BY ALAINNA WURFEL




02   A University of Texas Report Will Find That ‘The Eyes of Texas’ Has “No Racist
     Intent”
     BY JOE LEVIN AND IVAN MAISEL




03   The Damning History Behind UT’s ‘The Eyes of Texas’ Song
     BY JOE LEVIN
                Case 1:21-cr-00327-RC Document 10-1 Filed 03/11/21 Page 10 of 11


04   The Texanist: Why Are Mexican Restaurants in San Antonio Charging for Chips and
     Salsa?
     BY DAVID COURTNEY




05   Despite Losing Power for Days, Texans Will Pay Higher Power Bills—Perhaps for
     Decades to Come
     BY LOREN STEFFY




06   Barbecue Joint Owners Aren’t Happy About the End of the Mask Mandate in Texas
     BY DANIEL VAUGHN




07   Recipes From Some of Your Favorite Texas Restaurants
     BY PAULA FORBES




08   How Hank the Cowdog Made John R. Erickson the King of the Canine Canon
     BY CHRISTIAN WALLACE




09   The Fried Rib Tips Are Sacred at Mitch’s Corner Stop
     BY DANIEL VAUGHN




10   The Best To-Go Dishes (and Drinks!) at the Newest Restaurants in Texas
     BY PATRICIA SHARPE




LATEST


MARCH 9, 2021                                               MARCH 9, 2021
            Case 1:21-cr-00327-RC Document 10-1 Filed 03/11/21 Page 11 of 11
How Polly Abarca Fought to Bring Birth Control to   T Bone Burnett on Murder Ballads and Willie
South Texas                                         Nelson, Holy Man
